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                         Exhibit “D”
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

     IN RE:
                                                      Case No. 19-42834
     SIDDIQI, MUHAMMAD NASIR                          Chapter 7

                                       Debtor

                              TRUSTEE’S OBJECTION TO EXEMPTIONS

    YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
    CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
    THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
    AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

    NO HEARING WILL BE CONDUCTED ON THIS OBJECTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK
    OF THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
    TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS
    THE COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED
    AND FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
    GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
    THEREAFTER SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR
    OBJECTION MAY BE STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.


            COMES NOW Mark A. Weisbart, Chapter 7 Trustee, and files this Objection to

    Exemptions and, in support hereof, would show the Court as follows:

            1.      On October 16, 2019, Muhammad Nasir Siddiqi (“Debtor”) filed a voluntary

    petition under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”)

    commencing the above referenced bankruptcy proceeding.

            2.      Thereafter, Mark A. Weisbart was appointed the Chapter 7 Trustee, and has since

    remained in that capacity.

            3.      On November 8, 2019, Debtor filed his bankruptcy schedules, including Schedule

    C, identifying certain property claimed as exempt pursuant to 11 U.S.C. § 522 and under the Texas

    state law exemptions (the “Exemptions”).

            4.      Included in his Schedule B and Exemptions are two (2) 2016 Ford Tahoe’s with




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    20,000 miles 1 claimed as exempt under Tex. Prop. Code §§ 42.001(a)(1), (2), 42.002(a)(9). Trustee

    requests that the Debtor correctly identify the make, model and VIN number of the two (2) vehicles

    and specify which vehicle he is claiming as exempt. Trustee requests the Debtor turnover the other

    vehicle to him, together with the title such vehicle.

            5.      Debtor also identifies “sofa, tables, beds, dressers, chairs, rugs, televisions, etc” as

    exempt under Tex. Prop. Code §§ 42.001(a)(1), (2), 42.002(a)(1).              Trustee objects to this

    exemption as being too vague and requests specificity as to items claimed as exempt.

            6.      The Debtor also identifies “watch, wifes jewelry” as exempt under Tex. Prop. Code

    §§ 42.001(a)(1), (2), 42.002(a)(6). Again, Trustee objects to this exemption as being too vague

    and requests specificity as to items claimed as exempt.

            WHEREFORE, the Trustee prays that the foregoing Objection be sustained, that the Court

    limit or deny the exemptions in the property as described above, and that the Court grant him such

    other and further relief to which he is justly entitled.

                                                    Respectfully Submitted,

                                                    /s/ Mark A. Weisbart
                                                    Mark A. Weisbart
                                                    Texas Bar No. 21102650
                                                    THE LAW OFFICE OF MARK A. WEISBART
                                                    12770 Coit Road, Suite 541
                                                    Dallas, TX 75251
                                                    (972) 628-4903 Phone
                                                    mark@weisbartlaw.net

                                                    COUNSEL FOR CHAPTER 7 TRUSTEE




    1
     There is no such vehicle known as a “Ford Tahoe”. Trustee suspects the vehicles are either Chevy
    Tahoes or Ford Expeditions.


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                                       CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a copy of the foregoing instrument was served on the
    parties on the attached mailing list in accordance with LBR 9013(f) either through the Court’s
    electronic notification system as permitted by Appendix 5005 III. E. to the Local Rules of the U.S.
    Bankruptcy Court for the Eastern District of Texas, or by first class United States Mail, postage
    prepaid on this the 5th day of March 2020.

                                                 /s/ Mark A. Weisbart
                                                 Mark A. Weisbart




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Label Matrix for local noticing                     Hershel R. Chapin
                                                         Document           Page 4 of 4                  Eric A. Liepins
0540-4                                              H. R. Chapin, Attorney & Counselor, PLLC             12770 Coit Road
Case 19-42834                                       4301 Alpha Rd.                                       Suite 1100
Eastern District of Texas                           Dallas, TX 75244-4405                                Dallas, TX 75251-1329
Sherman
Thu Mar 5 06:25:50 CST 2020
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Houston, TX 77060-3548                              Norfolk, VA 23541-1021                               Allen, TX 75002-3028



US Trustee                                          Mark A. Weisbart                                     Stephen G. Wilcox
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(d)Mark A. Weisbart                                 (d)Mark A. Weisbart                                  End of Label Matrix
The Law Office of Mark A. Weisbart                  The Law Office of Mark A. Weisbart                   Mailable recipients       8
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